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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION


PHOENIX ENTERTAINMENT
PARTNERS, LLC,

      Plaintiff,

v.                                                CASE NO. 5:17cv279/MCR/GRJ

KARRIE MICHELLE DAUGHERTY
d/b/a SHORE DOGS, and NONIE KINNER,

      Defendants.
                                              /


                                    ORDER

      This matter is before the Court on Plaintiff’s Motion for Preliminary Pretrial

Conference and Appointment of Mediator. ECF No. 33. Plaintiff advises that

Defendant, Karrie Michelle Daugherty d/b/a Shore Dogs, has not responded to past

due discovery requests and has failed to cooperate in efforts to schedule mediation.

In review of the docket, Defendant Karrie Michelle Daugherty d/b/a Shore Dogs

appears to be proceeding pro se. The corporate status of Shore Dogs is unclear to the

Court. Therefore, Defendant, Karrie Michelle Daugherty d/b/a Shore Dogs, will be
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required to file a notice regarding the corporate status of the business. "The rule is

well established that a corporation is an artificial entity that can act only through

agents, cannot appear pro se, and must be represented by counsel." Palazzo v. Gulf

Oil Corp., 764 F.2d 1381, 1385 (11th Cir. 1985), cert. denied, 474 U.S. 1058 (1986).

Additionally, Defendant, Karrie Michelle Daugherty d/b/a Shore Dogs, will be

required to show cause why sanctions should not be imposed for failure to defend

and/or participate in the litigation of this matter.

       Accordingly, it is ORDERED:

       1.     The Defendant, Karrie Michelle Daugherty d/b/a Shore Dogs, is hereby

ordered to file a notice regarding the corporate status of the business, Shore Dogs,

within ten (10) days from the date of this Order.

       2.     Defendant, Karrie Michelle Daugherty d/b/a Shore Dogs, is hereby

ordered to show cause why sanctions should not be imposed for failure to defend

and/or participate in the litigation of this matter. Defendant’s response is due within

ten (10) days from the date of this Order.

       3.     Failure to comply with this Order will result with the imposition of

sanctions, which may include entry of default against Defendant.




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       4.     Plaintiff’s Motion for Preliminary Pretrial Conference and Appointment

of Mediator, ECF No. 33, is DENIED.

       SO ORDERED this 14th day of March 2018.




                                  s/   M. Casey Rodgers
                                 M. CASEY RODGERS
                                 CHIEF UNITED STATES DISTRICT JUDGE




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